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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE HIGHLAND CAPITAL                        §
MANAGEMENT, L.P.,                             §
                                              §
                      Debtor.                 §
                                              §
HIGHLAND CAPITAL MANAGEMENT                   §
FUND ADVISORS, L.P., et al.,                  §
                                              §      Civil Action No. 3:21-CV-1895-D
                      Appellants,             §      (Bank. Ct. No. 19-34054-sgj-11)
                                              §
VS.                                           §
                                              §
HIGHLAND CAPITAL MANAGEMENT,                  §
L.P.,                                         §
                                              §
                      Appellee.               §

                                 APPEAL FROM THE
                         UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

                                            ORDER

        The court is advised by the clerk of court that Douglas Draper, Esquire and Jeffery N.

Pomerantz, Esquire, whose names appear on the docket in this appeal, are not members of the Bar

of the Northern District of Texas. Accordingly, within 14 days of the date of this order, Messrs.

Draper and Pomerantz must either (1) provide to the court, and to the clerk of court, satisfactory

documentation of membership in the Bar of this court* or (2) apply for membership in the Bar or for




        *
      A letter stating the date of counsel’s admission to the Bar of this court is satisfactory
documentation.
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admission pro hac vice for this bankruptcy appeal.

       SO ORDERED.

       September 14, 2021.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




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